Case 1:08-cv-04405-PKC-PK Document 337 Filed 04/14/16 Page 1 of 3 PageID #: 10054

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                                                                      April 14, 2016


  VIA ECF
  Hon. Sandra L. Townes
  United States District Judge
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:        Allstate Insurance Company, et al. v. Mark Mirvis, et al.
             No. 08-CV-4405 (SLT) (PK)

  Dear Judge Townes:

          We represent the Plaintiff-Judgment Creditors (“Plaintiffs’) in the above-referenced
  matter and are writing to object to the April 6, 2016,1 application (“Application”) by Oleh
  Dekajlo, counsel to Judgment Debtor Mark Mirvis (interchangeably referred to as “Mirvis” and
  “Judgment Debtor”), seeking 30 additional days to submit opposition papers to Plaintiffs’ motion
  to set aside the fraudulent conveyance of certain property (the “Motion”), which was required to
  be served on or before March 11, 2016. For the reasons that follow, Plaintiffs respectfully
  request that the Judgment Debtor’s Application be denied or, to the extent that it is granted, that
  the time to submit opposition be reduced to 15-days from the date of the Application, to on or
  before April 21st, 2016, and that Plaintiffs be provided with two-weeks to submit any reply.

          By way of procedural background, on February 26, 2016, Plaintiffs personally served the
  Motion to avoid the alleged fraudulent conveyances of 289 Bayberry Drive upon Mirvis and his
  wife and daughter, Lyubov Mirvis and Tatyana Mirvis, respectively. See ECF Nos. 335-16, 335-
  17, and 335-18. Pursuant to Local Civil Rule 6.1(b)(2), opposition was due fourteen (14) days
  after service, or by March 11, 2016. On April 4, 2016, having received no opposition, Plaintiffs
  filed the Motion with the Court. See ECF No. 335. Now, almost a month after opposition papers




  1
      Although this is an electronically filed case, Plaintiffs received the Application in the mail.
Case 1:08-cv-04405-PKC-PK Document 337 Filed 04/14/16 Page 2 of 3 PageID #: 10055

  Hon. Sandra L. Townes
  April 14, 2016
  Page 3


  were due, counsel for Mirvis and his family members have requested, without any showing of
  good cause, an additional 30-days to respond to the Motion.2.

          In considering the Application, we respectfully request that the court bear in mind that
  the judgment against the Judgment Debtor arises from defendants’ massive scheme to generate
  and submit fraudulent insurance claims under New York’s No-fault Law. On May 5, 2015, the
  Court entered default judgment in the amount of $45,657,401.01 (the “Judgment”), for which
  various defendants (the “Judgment Debtors”)3 are jointly and severally liable. See ECF No. 303.
  As of the date hereof, the Judgment remains unsatisfied. In that regard, the Motion details the
  efforts that the Judgment Debtor undertook during the pendency of this litigation, while he was
  in default and ignoring the proceedings, and the pattern of activities that he continues to
  undertake to fraudulently dissipate, secrete, transfer (among family members) and otherwise
  frustrate what was initially a potential judgment against him, and what is now an actual
  judgment.

          With respect to the Judgment Debtor’s Application, the fact remains that opposition
  papers were due on or before March 11, 2016, and the Judgment Debtor’s disregard for the local
  rules of this Court, without any showing whatsoever of good cause, should not be rewarded by a
  generous extension of time (if any). Coupled with the propensity the Judgment Debtor has
  demonstrated for fraudulently transferring assets, Plaintiffs have legitimate concerns about what
  further efforts he might undertake in the interceding time period to avoid enforcement of the
  judgment against him. Moreover, the Judgment Debtor’s Application fails to explain why an
  extension is appropriate or necessary, or why Mirvis’ delay in responding to the Motion should
  be excused. The Application does not even provide the date on which Dekajlo was retained by
  Mirvis, or the date his counsel received a copy of the Motion, providing the Court with no reason
  to believe that the Application could not have been filed with the Court before opposition papers
  were due. In any event, an extension of thirty (30) days is manifestly unjust and, if granted,
  would provide the Judgment Debtor with an astounding total of 70-days to respond to the
  Motion. Accordingly, to the extent the Judgment Debtor’s application is not denied, Plaintiffs’
  request that any such extension be limited to the time periods noted above.




  2
     In addition, the Application cryptically references superior liens and other judgments, suggesting a
  misapprehension of the relief requested. In any event, if the Application is granted, Plaintiffs will address any
  arguments made by the Judgment Debtor and his family members at that time.
  3
    The Judgment Debtors include Defendants Mark Mirvis, Mark Lupolover, Michael Bezenyan, Ruven Katz, Igor
  Zhuravsky, Georgy Statnrosh, Leonid Slutsky, 825 Broadway Medical Care, P.C., Ocean L. Management Group
  Inc., Flatlands Best Management Group, Inc., Hillmed Management, Inc., B-Way Management, Inc., Flat-80
  Management, Inc., Nortmed Management, Inc., Del Prado One, LLC, Del Prado Two,LLC, Del Prado Three, LLC,
  Del Prado Four, LLC, El Dorado One, LLC, M&M Oceanfront,LLC, NE 10, LLC, NE 24, LLC, and Tropicana One,
  LLC
Case 1:08-cv-04405-PKC-PK Document 337 Filed 04/14/16 Page 3 of 3 PageID #: 10056

  Hon. Sandra L. Townes
  April 14, 2016
  Page 3


        Thank you for your consideration in this regard.


                                                    Respectfully submitted,

                                                    Stern & Montana, LLP

                                                    By:      /s/ Daniel Marvin_______
                                                           Daniel S. Marvin (DM-7106)


  cc:
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